        Case 1:22-cv-00672-ADA-CDB Document 3 Filed 06/03/22 Page 1 of 1
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 8                               IN THE UNITED STATES DISTRICT COURT

 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA

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11 GRACIELA JACOBO ,                                         No. 1:22−CV−00672−DAD−BAK

12                              Plaintiff,
                                                             NOTICE OF TEMPORARY
13                v.                                         MAGISTRATE JUDGE REFERRAL

14 JOHN DOE ,

15                              Defendant.
                                                       /
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17        Due to the elevation of Bakersfield Magistrate Judge Jennifer L. Thurston to District Judge, the

18 court finds it necessary to reassign the above-captioned case to Bakersfield Magistrate Judge (BAK).

19 This case is temporarily referred to a magistrate judge until a new magistrate judge is appointed.

20        YOU ARE THEREFORE NOTIFIED that this case is hereby temporarily referred to

21 Magistrate Judge Barbara A. McAuliffe until such time as a new Bakersfield magistrate judge

22 is appointed. Documents filed in this case shall include the temporary magistrate judge's initials,

23 as follows:                         1:22−CV−00672−DAD−BAK (BAM)

24        All dates currently set in this reassigned action shall remain pending subject to further

25 order of the court.

26        DATED: June 3, 2022                    KEITH G. HOLLAND, Clerk of Court

27                                           by: /s/ S. Martin−Gill
                                                 Deputy Clerk
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